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COUNTY OF HUDSON, NEW JERSEY
OFFICE OF THE COUNTY COUNSEL

DEPARTMENT OF LAW
ADMINISTRATION BUILDING ANNEX

 

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Hon. Leda D. Wettre, U.S.M.J.

MLK, Jr. Federal Building & U.S. Courthouse
50 Walnut Street

Newark, N.J. 07102

RE: Mazo, et. als. v. Way, et. als.
Civil Action No. 20-8336 (SDW-LDW)
Motion Returnable: October 19, 2020

Dear Judge Wettre:

Please be advised that this office represents Defendant, E. Junior Maldonado, in his
official capacity as the Hudson County Clerk in the above referenced matter. Kindly accept
this letter brief in lieu of more formal support for Defendant Maldonado’s Cross Motion to
Dismiss the complaint for failure to state a claim upon which relief may be granted under
Fed. R. Civ.P. 12(b)(6) and L. Civ. R. 7.1. The complaint is not properly filed against E.
Junior Maldonado in his capacity as County Clerk, the issue is moot, and the issue is not ripe
for adjudication.

In making this Cross Motion, E. Junior Maldonado respectfully adopts the arguments
submitted by the Union County Clerk and seeks the dismissal of the Plaintiff's complaint
with prejudice. No specific allegation is made in this complaint against Defendant
Maldonado in his official capacity as Clerk: the ballot draw conducted by Defendant
Maldonado on April 9, 2020 was never challenged by the Plaintiff in State Court prior to the
printing of the ballots. The relief sought by the Plaintiff is declaratory only. In joining in the
Cross Motion of Defendant Rajoppi, Defendant Maldonado provides the brief discussion
below as to the role of Clerks within the State of New Jersey, and the specific context of

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mootness and ripeness under the Declaratory Judgement Act 28 U.S.C. §§ 2201 and 2202.

As pointed out by counsel for the Clerk of Union County, the enforcement of the
election laws in the State of New Jersey is the duty of the Secretary of State, and she is the
proper defendant in this case. N.J.S.A. 19:31-6a and N.J.S.A. 52:16A-98. Alternatively, the
duties of the County Clerks are largely ministerial. “The clerk has the responsibility to deal
with petitions for the elections and to set up the ballot arrangements and array. Unless
specifically directed by statute as to a procedure, the clerk has discretion in carrying out this
responsibility. Schundler v. Donovan, 377 N.J. Super. 339, 343, 872 A.2d 1092, 1095 (App.
Div.), aff'd, 183 N.J. 383, 874 A.2d 506 (2005) (internal citations omitted). If discretion is
exercised, a court will look only to whether that discretion was rooted in reason. Ibid. The
statute in question specifically directs the Clerks how to act with regard to ballot draws and
bracketing. The discretion of the Defendant Maldonado is not being challenged. Plaintiff's
Complaint claims not that Defendant Maldonado acted incorrectly, but that the statute as to
the ballot draw and bracketing is unconstitutional. The defense of that law is not within the
authority granted to the Clerk and therefore the complaint against Defendant Maldonado
should be dismissed.

The relief sought by Plaintiff is a declaration that the New Jersey Statutes in question
are unconstitutional. But the harm alleged by the Plaintiff is that his placement on the ballot
negatively impacted his candidacy. The live controversy then is the placement on the ballot
at the moment the ballot draw is performed, not the ultimate result of the election. When
there is no live controversy in this matter and the case is clearly moot. “A case is moot when
the issues presented are no longer ‘live’ or the parties lack a legally cognizable interest in the
outcome.” Donovan ex rel. Donovan v. Punxsutawney Area Sch. Bd., 336 F.3d 211, 216 (3d
Cir.2003). Federal courts are without power to hear moot cases. State Farm Mut. Auto. Ins.
Co. v. Ormston, 550 F.Supp. 103, 105 (E.D.Pa.1982) (citing Liner v. Jafco, Inc., 375 U.S.
301, 306 n. 3, 84S.Ct. 391, 11 L.Ed.2d 347 (1964)). The Declaratory Judgment Act requires
that there be a “case of actual controversy” between the parties. 28 U.S.C. § 2201(a). Here,
the harm to plaintiff (if any) arose at the time of the ballot draw itself. The Plaintiffs never
challenged the ballot placement during a time frame in which a court may have affected his
position on the ballot. Plaintiff did not contest his position on the Hudson County ballot, ran
for office knowing his placement on the ballot, and lost. No declaratory judgment sought
today by the Plaintiff will address the July 2020 Primary election ballot or the election
results. Without that live action in controversy this issue is moot and should not be heard by
this Court.

Plaintiff claims that the issue is ripe for adjudication because he intends to run for
election again in 2022. The Declaratory Judgment Act provides that “in a case of actual
controversy within its jurisdiction ... any court of the United States ... may declare the rights
and other legal relations of any interested party seeking such a declaration....” 28 U.S.C. §
2201(a). The Third Circuit uses a three part test to evaluate whether an action for declaratory
judgment is ripe, examining: 1) the adversity of the parties' interest, 2) the conclusiveness of
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the judicial judgment, and 3) the practical help, or utility of that judgment. However, “a
potential harm that is contingent on a future event occurring will likely not satisfy the
adversity of interest prong of the ripeness test” and warrant dismissal. Pittsburgh Mack Sales
& Serv. Inc. v. Int'l Union of Operating Eng'rs. Local Union No. 66, 580 F.3d 185, 190 3d
Cir.2009)). As argued by counsel for Union County the matter presented by Plaintiff is not
ripe for adjudication because it is dependent upon far too many future events: the Plaintiff
choosing to run again; the Plaintiff having the financial resources to run again; the Plaintiff’s
ability to properly submit a valid petition, on time, for the next election. The Plaintiff could
obtain the backing of a political Party, or Plaintiff could begin his own political party. None
of these factors are reasonably foreseeable. Far too many contingencies exist for this matter
to be truly ripe for adjudication. In no way does the tenuous nature of the future candidacy
of the plaintiff pass the test for ripeness, and the complaint should be dismissed.

The proper defendant in this case is the Secretary of State, not the Clerks of the
Counties within the States. The harm alleged could have been addressed, or at least
challenged, at the time of the ballot draw and placement of the Plaintiff on the ballot.
Plaintiff chose not to do so. For that reason, the issue as to the July 2020 Primary election
is moot, and the issue as to any future candidacy of the Plaintiff is not ripe of adjudication.
For these reasons Defendant Maldonado respectfully submits that this matter should be
dismissed with prejudice.

Respectfully submitted,

Donato J. Battista
Hudson County Counsel

s/Daniel J. DeSalvo

Daniel J. DeSalvo

Deputy County Counsel
DJB:dmp
